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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

VALERIE ANNETTE BARTEE,

                Plaintiff,

 v.                                              Case No. CIV-19-371-JFH-SPS

 ANDREW M. SAUL,
 COMMISSIONER OF THE SOCIAL
 SECURITY ADMINISTRATION,

                Defendant.

                                           ORDER
         Before the Court is the Report and Recommendation [Dkt. No. 20] of United States

Magistrate Judge Steven P. Shreder reviewing the decision of the Commissioner of the Social

Security Administration to deny disability to Valerie Annette Bartee. The Magistrate Judge

recommends the Commissioner’s denial of benefits be reversed and the case remanded for further

proceedings.

         Neither party objected to the Magistrate Judge’s Report and Recommendation within the

14-day period prescribed by 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure 72(b). Having

reviewed the Report and Recommendation, the Court concurs with the Magistrate Judge’s

recommendation, and accepts and adopts it as the order of the Court. On that basis, the decision

of the Commission is REVERSED and the case REMANDED for further administrative

proceedings as set forth in the Magistrate Judge’s Report and Recommendation.

         IT IS SO ORDERED this 24th day of March, 2021.


                                                   ____________________________________
                                                   JOHN F. HEIL, III
                                                   UNITED STATES DISTRICT JUDGE
